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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   Regeneron Pharmaceuticals, Inc.,

                  Plaintiff,

   v.                                               C.A. No.: 22-cv-00697-RGA-JLH
   Amgen Inc.,

                  Defendant.


                                      [PROPOSED] ORDER

         WHEREAS, the Court having considered all papers filed in support of and opposed to the

  discovery briefing filed by Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron’s”) and Non-

  Parties Express Scripts, Inc., Express Scripts Senior Care Holdings, Inc., Cigna Corporation and

  Ascent Health Services LLC’s (collectively, “ESI”), and having heard argument at the forthcoming

  discovery conference, it is now:

         ORDERED that within five (5) days of this order, ESI shall produce:

                 1. Responsive, non-privileged documents from the custodial files of ESI’s current and
                    former employees Amy Bricker, Ed Admacik, Michael Rothrock and Jason Dohm
                    that hit on Regeneron’s proposed search terms included in Exhibit D to
                    Regeneron’s Letter Motion dated August 30, 2023 from February 1, 2020 –
                    December 31, 2020.



         Entered this _________ day of _________________, 2023.

                                                                        _______________________
                                                                        United States District Judge




  System.Object[]
